         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                       CRIMINAL NO. 2:06CR6-3


UNITED STATES OF AMERICA )
                         )
                         )
         Vs.             )                 ORDER OF DISMISSAL
                         )
                         )
JOSH LEE FLYNN           )
                                   )


     THIS MATTER is before the Court on the Government’s motion to

dismiss the indictment as to the captioned Defendant only.

     For the reasons stated in the motion and for cause shown,

     IT IS, THEREFORE, ORDERED that the Government’s motion is

ALLOWED, and the indictment as to this Defendant only is hereby

DISMISSED WITHOUT PREJUDICE.


                                       Signed: June 13, 2006




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